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                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF ILLINOIS
                                   EASTERN DIVISION

TEVELA BASS,                                         )
                                                     )      Case No. 1:17-cv-05415
               Plaintiff,                            )
                                                     )      Judge: Sharon Johnson Coleman
v.                                                   )
                                                     )      Magistrate Judge: Daniel G. Martin
STATE COLLECTION SERVICE, INC.,                      )
                                                     )
               Defendant.                            )

                DEFENDANT STATE COLLECTION SERVICE, INC.’S
              MOTION TO CHANGE SETTLEMENT CONFERENCE DATE

       NOW COMES Defendant, STATE COLLECTION SERVICE, INC., by and through its

attorneys, and for its motion to change settlement date, states as follows:

       1. On June 12, 2018, the parties agreed to attempt to resolve this case via a settlement

conference, and this Court set a settlement conference for July 25, 2018.

       2. Defendant is still desirous to engage in a settlement conference. However, the

corporate representative from Defendant will be at an out-of-state conference on July 25 and will

not be able to attend on July 25.

       3. Defendant’s counsel was not aware of this conflict at the hearing when the settlement

conference date was set.

       4. For clarification, Defendant’s corporate representative will be available to engage in a

settlement conference on August 1, 2, and 3, and August 15 and afterwards.

       WHEREFORE, STATE COLLECTION SERVICE, INC., respectfully moves this

Honorable Court to move the settlement conference from July 25, 2018, to any of the above-

mentioned dates, and for any further relief that this Court deems equitable and just.




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                                            Respectfully submitted,
                                            HINSHAW & CULBERTSON LLP

                                            /s/ Louis J. Manetti, Jr.
                                            Louis J. Manetti, Jr.

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                                 CERTIFICATE OF SERVICE

      I, an attorney, hereby certify that on July 3, 2018, I electronically filed the foregoing
Defendant's Motion to Change Settlement Conference with the Clerk of the Court using the
CM/ECF system which will send notification of such filing to all counsel of record.




                                                  /s/ Louis J. Manetti, Jr.
                                                  Louis J. Manetti, Jr.
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